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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:02-cr-00043-MP-AK

JOCELYNN DENAY BANKS,

      Defendant.
_____________________________/

                                          ORDER

       This matter is before the Court on Doc. 484, Consent Motion to Continue, filed by the

Government. In its motion, the Government requests that Defendant’s revocation hearing, which

is currently scheduled for Friday, March 6, 2009, be continued in order to accommodate a

witness’ scheduling conflict. Defendant is unopposed to the request. Upon consideration, the

Court finds that the motion should be granted. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The Consent Motion to Continue, Doc. 484, is GRANTED. The revocation hearing for
       JOCELYNN DENAY BANKS is reset to Wednesday, March 11, 2009, at 11:00 a.m.

       DONE AND ORDERED this            4th day of March, 2009


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
